WV JAIL SETTLEMENT ADMINISTRATOR F
C/O RUST CONABETIE RrEYRRG405 Document 849-2 Filed 12/08/23 Pagg 1 of 1 PagelD #: 13011

PO BOX XXXX
MINNEAPOLIS, MN 55440

IMPORTANT LEGAL MATERIALS

*BARCODE39*

- UAA- <<SequenceNo>>

Claimant ID #: <<barcode39>>
<<Namel>> + a aM = 7
<<Name2>>
<<Name3>>
<<Name4>>
<<Addressl>>
<<Address2>>
<<Address3>>
<<City>> <<State>> <<Zip10>>
<<CountryName>>

Or ee NY

if you were an inmate at the Southern Regional Jail in Beaver, West Virginia for more than two days since September 22, 2020, you are
eligible for a payment from a settlement with the state of West Virginia. To participate in this SETTLEMENT, you must submit this
claim form by Month XX, 2024. You can also file your claim online at wwwWVjailsettlement.com. Your right to share in the
SETTLEMENT FUND will depend solely on the state of West Virginia’s records which reflect how long any prisoner was incarcerated.
The amount of compensation will depend upon the number of approved claimants filing claims and the number of days you were
incarcerated.

Name:

Street Address:

City/State/Zip Code:

Date of Birth: f f

ANSWER THE FOLLOWING QUESTION
Were you incarcerated at Southern Regional Jail for more than two days since SEPTEMBER 22, 2023?

L] Yes [J No

| declare, under penalty of perjury, that the answer stated above is true and correct.

Signed by:
[Signature] [Date]

TO BE ELIGIBLE TO PARTICIPATE IN THIS SETTLEMENT, RETURN THiS CLAIM FORM TO THE ADDRESS BELOW BY MONTH XX, 2024.

MAIL THE CLAIM TO: If you want your check sent to a different address than the one

above, please indicate that address here:
WYV Jail Settlement Administrator

c/o Rust Consulting, Inc. - XXXX
PO Box XXXX
Minneapolis, MN 55440

